                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  ANGEL DE JESUS ZEPEDA RIVAS, et                    Case No. 20-cv-02731-VC
  al.,
                 Plaintiffs,                         BAIL ORDER NO. 9
          v.                                         Re: Dkt. 74

  DAVID JENNINGS, et al.,
                 Defendants.



       Delfina Soto Soto’s bail request is granted. Her bail is subject to the conditions of release
listed in Dkt. No. 108. Her bail is also subject to the further two conditions: (1) ICE may place
Soto back on the Intensive Supervision Appearance Program; (2) a member of Ms. Soto’s family
must pick her up from the detention facility.
       IT IS SO ORDERED.

Dated: May 15, 2020
                                                ______________________________________
                                                VINCE CHHABRIA
                                                United States District Judge
